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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 Eszter Pryor,
 Logan Kline,
 Marissa Johnson,
 and Jane Does 4-50,
 on behalf of themselves and
 all others similarly situated,


                 Plaintiffs,

 vs.                                              Civil Case No. 1:18-cv-2113-WTL-MJD

 USA Diving, Inc.,
 The Ohio State University Diving Club, and
 Will Bohonyi,


                 Defendants.



         FIRST AMENDED CLASS ACTION COMPLAINT AND JURY DEMAND




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                                  NATURE OF THE COMPLAINT

        1.      This class action involves sexual abuse, exploitation, and the forced labor of

 Team USA hopeful diving athletes by the Olympic coaches, entities, officials, and executives

 who were entrusted to protect them.

        2.      Rather than upholding the values and spirit of Team USA, these bad actors

 manipulated the trust placed in them, abused the power and legitimacy bestowed upon them,

 shattered the innocence and dreams of numerous female athletes, and violated multiple federal

 and state laws in the process.

        3.      The USOC and its National Governing Body (“NGB”) for diving, USA Diving,

 have reached for commercial success at all costs by ignoring, denying, obstructing, or covering

 up complaints of sexual abuse, deferring and diverting investigations, and suppressing all

 questions about the sexual exploitation of its coaches.

        4.      The leaders of Team USA, including those who run the USOC and USA Diving,

 tolerate and often facilitate the sexual abuse of children by coaches and other adults.1

        5.      With hundreds of millions of dollars on its balance sheet (all of it earned off the

 backs and labor of Team USA’s athletes), the USOC and its NGBs (including USA Diving)

 could have long ago stopped and helped prevent much of this sexual misconduct, which has been

 rampant in USA Diving and other sports for decades.




 1
  Will Hobson, Victims Say the USOC Deserves Blame for America’s Olympic Sex Abuse
 Problem, WASH. POST (Feb. 23, 2018),
 https://www.washingtonpost.com/sports/olympics/victims-say-the-usoc-deserves-blame-for-
 americas-olympic-sex-abuse-problem/2018/02/23/b5afe70a-1270-11e8-9065-
 e55346f6de81_story.html?noredirect=on&utm_term=.303109b367f2.

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           6.    Because of the USOC’s complete failure to regulate its NGBs or stop the

 widespread sexual abuse of Team USA’s athletes, Congress stepped in and enacted the

 Protecting Young Victims from Sexual Abuse and Safe Sport Authorization Act of 2017 (“The

 2017 Sports Abuse Act”).

           7.    This legislation took effect in February 2018 and was passed in direct response to

 “allegations of sexual abuse made against personnel involved with USA Gymnastics, USA

 Swimming, and USA Taekwondo and follows hearings [in 2017] before the Senate Judiciary

 Committee and the Senate Commerce Committee on athlete safety issues.”2

           8.    Architected by Senators Dianne Feinstein (D-Calif.) and Susan Collins (R-

 Maine), the 2017 Sports Abuse Act was introduced with the broad support of “Republican and

 Democratic members from both the House and the Senate, and four former Olympic gymnasts.”3

           9.    In testimony on the floor of the Senate, Senator Feinstein emphasized that the

 2017 Sports Abuse Act “strengthens the law that allows victims of sex abuse to file suits against

 those who abused them to commit crimes such as sex trafficking” and that punitive damages are

 now expressly provided by statute “due to the heinous nature of the crimes.”4




 2
  Senator Susan Collins, At Press Conference with Former Olympic Gymnasts, Senator Collins
 Urges Colleagues to Support Legislation She Introduced with Senator Feinstein to Protect
 Athletes from Sexual Abuse, COLLINS.SENTATE.GOV (Jan. 30, 2018),
 https://www.collins.senate.gov/newsroom/press-conference-former-olympic-gymnasts-senator-
 collins-urges-colleagues-support
 3
     Id.
 4
     Testimony of Sen. Feinstein, 164 CONG. REC. S589-02, 2018 WL 636521 (Jan. 30, 2018).

                                                  2
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           10.    Senator Feinstein further condemned the USOC’s and the NGBs’ commercial

 obsession with “medals and money”—which are pursued over the safety and wellbeing of

 America’s young athletes:

           One of the common themes I heard from their stories was not just the predatory
           behavior of the perpetrators, but also how the USA Gymnastics institution failed to
           protect them. One of the women told me how she heard USA Gymnastics officials
           say at one point that it was their top priority to obtain “medals and money” and
           that a “reputation of a coach” should not be tarnished by an allegation raised by a
           victim.5

           11.    This Congressional action sought to remedy decades of flagrant and knowing

 sexual abuse at the highest levels of Team USA, across nearly all of the 47 different Olympic

 sports.

           12.    Since 1982, more than 290 coaches and officials associated with the USOC sports

 organizations have been publicly accused of sexual misconduct, according to a Washington Post

 review of sport governing body banned lists, news clips, and court records in several states. The

 figure spans participants in 15 sports and amounts to an average of eight adults connected to an

 Olympic organization accused of sexual misconduct every year — or about an act of sexual




 5
   Testimony of Sen. Feinstein, 163 CONG. REC. S1634-01, 2017 WL 900895 (Mar. 7, 2017)
 (emphasis added).

                                                   3
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 abuse once every six weeks — for more than 36 years.6 And for every one of these perpetrator

 coaches, there are an untold number of victims, left to suffer in the shadows.7

         13.     Diving is one of 47 Olympic sports, which range from archery to wrestling.

         14.     Any young diving athlete in the United States who wants to compete in the

 Olympics as a diver has only one route to get there: she must be selected by USA Diving and be

 named part of the US Olympic diving team.

         15.     The coaches and executives who select the diving team, therefore, possess an

 inordinate amount of power.

         16.     This power structure creates a monopoly-like situation that exposes young,

 vulnerable, female athletes to a very dangerous dynamic in which they are forced to do anything

 their coaches say.

         17.     Perception is reality, and it’s never clear to these athletes which coach actually

 controls their fate.

         18.     But they do know that if they don’t obey their coaches, they might not make the

 team—even if they are more qualified or have better scores than their competitors.

         19.     As a result, every USA Diving coach and official has an exceptional amount of

 power to exploit the labor of the athletes who compete to be named to Team USA—in diving,

 and in every other sport.


 6
  Will Hobson & Steven Rich, Every Six Weeks for More than 36 Years: When Will Sex Abuse in
 Olympic Sports End?, WASH. POST (Nov. 17, 2017),
 https://www.washingtonpost.com/sports/every-six-weeks-for-more-than-36-years-when-will-
 sex-abuse-in-olympic-sports-end/2017/11/17/286ae804-c88d-11e7-8321-
 481fd63f174d_story.html?utm_term=.24ca96bb8af3
 7
  USA Gymnastics team doctor Larry Nassar’s known victims alone now total at least 265. See
 Leonard Greene & Jessica Schladebeck, Judge Says 265 Have Come Forward with Sexual
 Assault Allegations Against Larry Nasser, N.Y. DAILY NEWS (Jan. 31, 2018),
 http://www.nydailynews.com/news/national/judge-265-larry-nassar-victims-article-1.3790363

                                                   4
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        20.     When young athletes do report sexual abuse to adults and Team USA’s executives

 and officials, they are often met with obstruction, denials, and cover-ups by their coaches, by

 USA Diving, and by the clubs that are credentialed and regulated by USA Diving.

        21.     This teaches young athletes that their complaints and reports of sexual abuse are

 unimportant because athletes are merely fungible commodities that can be trained and

 transported to competitions for the sexual gratification and commercial benefit of their coaches

 and other employees and executives.

        22.     The toxic Olympic sports culture, including inside USA Diving, emboldens adult

 coaches to continue and proliferate their sexual exploitation without any fear of prosecution or

 financial penalty, which causes the toxic culture to metastasize.

        23.     The combined result is a feedback loop of sexual abuse, exploitation, and forced

 labor of America’s young athletes, all so that the officials leading the USOC and its NGBs can

 feed the U.S. Olympics machine, which runs on “medals and money.”

        24.     Anything or anyone that gets in the way of this commercial quest for “medals and

 money” is silenced, obstructed, defamed, or intimidated into keeping quiet.

        25.     This lawsuit focuses on USA Diving, but most of the other NGBs (for the 46

 other Olympic sports) are rife with the same systemic sexual abuse of young athletes.

        26.     Fortunately, Congress created not only the USOC, but also a long list of federal

 statutes (including the 2017 Sports Abuse Act) with austere civil remedy provisions specifically

 crafted to punish and deter the very criminal conduct that was knowingly committed in this case.

        27.     Through this lawsuit, Plaintiffs shine a light on the USOC, USA Diving, the Ohio

 State University Diving Club, and William Bohonyi. Plaintiffs, on behalf of themselves and the

 Class, declare that enough is enough, that no other female athletes should have to endure the



                                                  5
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 “disgusting and unnecessary”8 exploitation, abuse, and forced labor they have experienced at the

 hands of the USA Diving rapists who stood at the apex—and served as the gatekeepers—of their

 competitive diving dreams.



                                                  PARTIES

        The Plaintiffs

        28.     Plaintiff Ezster Pryor is an individual currently residing in Ohio.

        29.     Plaintiff Logan Kline is an individual currently residing in Kansas.

        30.     Plaintiff Marissa Johnson is an individual currently residing in Washington.

        The Defendants

        USA Diving

        31.     The Ted Stevens Amateur Sports Act (“The Sports Act”) gives the USOC the

 express authority to authorize National Governing Bodies (“NGBs”) in all Olympic Sports.

        32.     Defendant USA Diving (“USA Diving”) is the USOC-recognized and USOC-

 regulated NGB for the sport of diving.

        33.     USA Diving was at all times herein mentioned and still is an Ohio corporation

 with its principal place of business in the city of Indianapolis, Indiana.

        34.     USA Diving may be served through its counsel, Bernard Pylitt of Katz and Korin

 and Cunningham, 334 N. Senate Street, Indianapolis, Indiana.




 8
  Quoting Michaela Moroney’s tweet from October 2017 under hashtag #MeToo. Tom Schad,
 Lawsuit Claims USA Gymnastics Paid to Quiet Olympic Gold Medalist McKayla Maroney
 Maroney, USA TODAY (Dec. 20, 2017),
 https://www.usatoday.com/story/sports/olympics/2017/12/20/lawsuit-usa-gymnastics-paid-quiet-
 olympic-gold-medalist-mckayla-maroney/969843001/.

                                                   6
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        The Ohio State University Diving Club

        35.      The Ohio State University Diving Club is a USA Swimming Diving Club.

        36.      Its website promotes the following companies as its “Partners”—which are likely

 its sponsors:




        37.      The Ohio State University Diving Club can be served at 3034 Ohio Union, 1739

 N. High Street, Columbus, OH 43210.

        38.      Its website states:

        OSDC HAS BEEN NAMED A USA DIVING JUNIOR PODIUM CENTER
        CLASSIFYING IT AS ONE OF THE TOP JUNIOR PROGRAMS IN THE
        UNITED STATES.

        The Ohio State Diving Club provides recreational diving lessons, a track to the
        team level (Bucks classes), high school diving programs and the second highest
        ranking junior competitive USA Diving team in the United States.

        Hosted through the Buckeye Aquatic Academy, a program of the Department of
        Recreational Sports in the Office of Student Life at The Ohio State University,
        our goal is to provide excellent coaches, resources, and facilities for age group
        divers of all ability levels.

        We take pride in developing personalized plans for athletes and their families to



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           achieve their goals whether it be a college scholarship, high school success,
           national and world championships or even that first flip!9


           William Bohonyi

           39.     Defendant William Bohonyi is a natural person residing in Ohio.

           40.    He can be served at 2194 Country Corners Dr., Columbus, Ohio 43220.

                                           JURISDICTION

           41.    This Court has federal question jurisdiction under 28 U.S.C. § 1331 and

  supplemental jurisdiction under 28 U.S.C. § 1367 over the state law claims alleged.

           42.    Venue is appropriate in this district because USA Diving has its corporate

  headquarters in this district and a substantial number of the relevant events occurred here.

                                   FACTS COMMON TO ALL COUNTS

           Overview of the Sports Act, the USOC, and its NGBs, clubs, and coaches

           43.    Congress originally chartered the United States Olympic Association in 1950 to

  organize and promote the United States’ participation in international Olympic competition. This

  spun into the United States Olympic Committee (the “USOC”) in 1964.

           44.    In 1978, concerned with “the disorganization and the serious factional disputes

  that seemed to plague amateur sports in the United States,” Congress enacted the Ted Stevens

  Olympic and Amateur Sports Act (“the Sports Act”), P.L. 95–606 (now codified at 36 U.S.C. §

  220501, et seq.), to codify the purpose and powers of the USOC, and to create national

  governing bodies (“NGBs”) for each Olympic sport.




  9
      https://www.teamunify.com/Home.jsp?team=ohosdc
                                                    8
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         45.     Thus, the Sports Act controls the USOC and all of its NGBs, who merely operate

  as extensions or agents of the USOC.10

         46.     As of 2018, there are 47 NGBs (one for each Olympic sport), ranging from USA

  Archery to USA Wrestling.

         47.     Under the Sports Act, the USOC has a duty to protect the young athletes who seek

  to compete in Olympic sports in the United States. The USOC is responsible for the conduct of

  its NGBs and is required by statute to make sure Team USA’s athletes are kept safe from sexual

  predators. In fact, the USOC has publicly stated the same multiple times and has been forced to

  apologize for not upholding its promise and obligation to do so.

         48.     The USOC is motivated by only two things: medals and money. Its sole goal is to

  win more sponsorships and more marketing deals so that its executives and Board Members can

  maintain their “country club” lifestyle, which includes lavish meals, first-class airfare, luxury

  hotels, bloated salaries and per diems, and the fame and fortune that come from being at the helm

  of Team USA. In reality, the USOC has decided to sacrifice the safety and welfare of its athletes

  for the trappings of fame and fortune that accrue to its executives.

         49.     Sexual abuse allegations represent a threat to this steady stream of commercial

  success. For this reason, the USOC tries at every opportunity to suppress the public from

  recognizing that the USOC is a complete sham. Rather than taking seriously its admitted duty to

  protect Team USA’s athletes, its board members and executives are focused only on themselves

  and their personal fringe benefits.




  10
    Title 36 U.S. Code, chapter 2205 organizes and defines the USOC as a “federally chartered
  corporation.” 36 U.S.C. §§ 220501(b)(6), 220502(a).

                                                    9
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           50.     A review of the individual 990 forms of public nonprofits reveals that the USOC

  annually spends more on outside law firms—paying its politically connected law firms lavishly

  to defend it in lawsuits and lobby Congress to stop any reforms that would jeopardize the fringe

  benefits of its 15 board members or the executives at the top who run the USOC—than it does on

  Safe Sport (the entity the USOC supposedly set up to keep athletes safe and investigate

  allegations of abuse).

           51.     The stated purposes of the USOC include: to develop amateur athletic activity in

  the United States directly related to international amateur athletic competition;11 to exercise

  “exclusive jurisdiction” over “all matters” pertaining to U.S. participation in the Olympic and

  Pan-American Games;12 to “obtain for the United States…the most competent amateur

  representation possible in each event” of the games;13 to provide “swift resolution of conflicts”;

  to “protect the opportunity of any amateur athlete, coach, trainer, manager, administrator, or

  official to participate in amateur athletic competition”;14 and, recently, “to promote a safe

  environment in sports that is free from abuse, including emotional, physical, and sexual abuse, of

  any amateur athlete.”15

           52.     In short, the USOC is responsible for the training, entering and funding of U.S.

  teams for the Olympic, Paralympic, Youth Olympic, Pan American and Para-Pan American

  Games, while serving as a steward of the Olympic Movement throughout the country. In other

  words, among the USOC’s powers are to “organize, finance, and control the representation of the


  11
       36 U.S.C. § 220503(2).
  12
       36 U.S.C. § 220503(3).
  13
       36 U.S.C. § 220503(4).
  14
       36 U.S.C. § 220503(8).
  15
       36 U.S.C. § 220503(15), added Feb. 14, 2018 by PL115-126, 132 Stat. 318.

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  United States in the competitions and events” of, the Olympic, Paralympic, and Pan-American

  Games (the “Games”).16

            53.    The USOC accomplishes this by recognizing, for each of the various sports

  represented in the Games, one eligible amateur sports organization as an NGB for that sport, and

  the USOC provides substantial financial support to the NGBs.17

            54.    Each NGB is charged with promoting competition in its respective sports.

            55.    Each NGB is charged with selecting the athletes, officials, and coaches for its

  sport at the Pan Am Games, World Championships, World Cups, and Olympic Games.

            56.    The Pan Am Games, World Championships, World Cups, and Olympic Games

  are “protected competitions” under the Sports Act.

            57.    The USOC controls all aspects of every protected competition.

            58.    Each NGB then submits its roster of proposed coaches and athletes for protected

  competitions to the USOC.

            59.    The USOC then enters the athletes and coaches in the protected competitions.

            60.    The Sports Act gives the USOC the power to control all of the NGBs.

            61.    USA Diving is one of 47 NGBs recognized by the USOC under the Act that

  sponsors or arranges amateur athletic competition.18

            62.    The Sports Act gives the USOC the power to enforce compliance by the NGBs

  with all requirements of the Sports Act.




  16
       36 U.S.C. § 220505(c)(3).
  17
       36 U.S.C. §§ 220505(c)(4), (6).
  18
       36 U.S.C. §§ 220501(b)(3), (8).

                                                    11
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         63.     Such power includes the power to put NGBs on probation, to replace the entire

  board of any NGB, or to de-certify an NGB.

         64.     The Sports Act allows the USOC to force NGBs to adopt policies and procedures

  to ensure the physical safety of athletes.

         65.     For example, in 1999, the USOC required all NGBs to purchase insurance to

  specifically cover the sexual assaults of any minor.

         66.     If NGBs did not purchase sexual abuse insurance, their members would not be

  permitted to use the USOC training facilities in Chula Vista, California; Lake Placid, New York;

  Marquette, Michigan; or Colorado Springs, Colorado.

         67.     In 2010 the USOC created a task force to make recommendations to address the

  issue of child sexual assault in USOC controlled sports.

         68.     In September 2012 that task force presented its recommendation to the USOC

  Board of Directors.

         69.     The USOC Board took no action on those recommendations for almost two years.

         70.     Finally, the USOC adopted a Safe Sport Handbook in 2012, which set forth a

  minimum standards policy.

         71.     In 2013, the USOC required each NGB to adopt an athlete safety program by

  December 31, 2013.19

         72.     The USOC took no action to ensure that its NGBs, including USA Diving,

  actually adopted such a program.




  19
     U.S. House Comm. on Energy & Commerce, Memorandum re Hearing entitled “Examining
  the Olympic Community’s Ability to Protect Athlete’s from Sexual Abuse,” (May 21, 2018),
  https://docs.house.gov/meetings/IF/IF02/20180523/108356/HHRG-115-IF02-20180523-
  SD002.pdf.
                                                  12
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           73.    USA Diving did not timely adopt all the required elements of the USOC’s

  required Safe Sport program.

           74.    The USOC took no action against USA Diving for failing to timely adopt a

  compliant Safe Sport Program.

           75.    By 2014 the USOC knew that sexual abuse of children was widespread in the

  U.S. Olympic Sports Movement.

           76.    The USOC is fully aware of the pervasive amount of child rape in its member

  NGBs.

           77.    The USOC is the final authority in U.S. Olympic Sport.

           78.    Other than the USOC, USA Diving has complete and final control over the sport

  of diving in the United States.

       USA Diving: The Commercial Quest for “Medals and Money” Off the Labor of Athletes

           79.    Although the USOC and the NGBs are restricted by statute from engaging in

  business for profit,20 and although USOC receives no permanent funding from the federal

  government, the Olympics—and the competitive amateur sports industry that feeds into it—is

  big business.

           80.    Olympic-hopeful athletes and coaches are involved in a commercial endeavor

  infused with money, contracts, and terms. Every participant (athletes, coaches, USA Diving, and

  the United States Olympic Committee) is a commercial actor.




  20
       36 U.S.C. 220507(a).

                                                 13
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           81.   Each Olympic athlete has a direct commercial relationship with the USOC, which

  imposes a list of “commercial terms”21 upon each athlete as a precondition for participating:




           82.   The commercial relationship between the NGB and each athlete is further

  confirmed on the USOC’s website, which states that the USOC “supports U.S. Olympic

  …athletes on and off the field of play through programming such as direct athlete funding, health

  insurance, tuition grants, media and marketing opportunities, career services and performance-

  based monetary rewards.”22




  21
   Commercial Terms, TEAMUSA.ORG, https://www.teamusa.org/Athlete-Resources/Athlete-
  Ombudsman/Commercial-Terms.
  22
       About the USOC, TEAMUSA.ORG, https://www.teamusa.org/About-the-USOC

                                                 14
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             83.   Although this commercial relationship benefits both athletes and the USOC, the

  commercial benefits that flow to the USOC are massively larger.

             84.   In 2016 alone, the USOC generated $339 million in unconsolidated revenue.23

             85.   The USOC generates billions of dollars in licenses and sponsorships because it

  controls all aspects of and for the NGBs.

             86.   The USOC provides financial support to USA Diving.

             87.   According to its 2016 tax returns, over $1,600,000 of USA Diving’s nearly

  $2,000,000 budget came from “grants.”

             88.   The USOC is believed to be the largest source of these “grants.”

             89.   USA Diving is completely dependent on the USOC’s financial support.

             90.   According to Team USA’s website, in May 2014, NBC Sports signed a deal

  worth $7.75 billion to broadcast the Olympic games through 2032.24

             91.   Larry Probst, the USOC Chairperson, described this as a “terrific deal” and NBC

  Sports Chairperson Mark Lazarus explained, “The Games are very important pieces of real

  estate.”25

             92.   The corporate sponsorships of Team USA generate hundreds of millions of

  dollars of additional revenue off the backs of the athletes who wear Team USA uniforms.26




  23
     UNITED STATES OLYMPIC COMMITTEE 2016 ANNUAL REPORT 41 (2016),
  http://2016annualreport.teamusa.org/USOC_32554_AR16.pdf. Funding sources include
  Broadcast rights ($169M); Marks rights ($194M); Licensing Royalties ($21M); Contributions
  ($98M) and Other ($112M).
  24
     Amy Rosewater, NBC, IOC Ink $7.75 Billion Deal for Games, TEAMUSA.ORG (MAY 7, 2014),
  https://www.teamusa.org/News/2014/May/07/NBC-IOC-Ink-775-Billion-Deal-For-Games.
  25
       Id.
  26
       Sponsors, TEAMUSA.ORG, https://www.teamusa.org/sponsors (last visited May 2, 2018).

                                                   15
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         93.     Without Team USA’s athletes competing, including divers, the USOC would not

  earn any revenue, would not have any television deals with NBC, would not have any

  endorsements, and would not have any sponsors.

         94.     The USOC itself states this on its website,27 noting that it “does not receive

  federal financial support” and that it “generat[es] revenue” by “licenses” to sponsors:




         95.     Despite having hundreds of millions of dollars to spend on the safety and

  wellbeing of the athletes whose labor earned this money, the USOC and USA Diving (along with



  27
     Inside the USOC, TEAMUSA.ORG, https://www.teamusa.org/about-the-usoc/inside-the-usoc
  (last visited May 2, 2018).

                                                  16
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  the other NGBs controlled by the USOC) decided over the last two decades to not pay for

  reasonable compliance or security measures to ensure that coaches or other executives were not

  sexually abusing, exploiting, or trafficking female athletes—even though they knew this abuse

  was occurring.

           96.     The USOC did nothing from 2010-2015 to ensure that USA Diving was

  complying with the Safe Sport program mandated by the USOC.

           97.     The USOC identified the need for Safe Sport in 2010, but it did nothing to

  actually operate and enforce the terms of Safe Sport until several years later, as explained below.

  This delay allowed pedophile coaches to prey on Team USA’s vulnerable athletes for several

  years.

           98.     The USOC’s U.S. Center for Safe Sport (“SafeSport”), an ostensibly independent

  entity designed to investigate and report on sexual misconduct, is sponsored by NBC Sports, the

  National Basketball Association, and the Women’s National Basketball Association,28 which

  further shows that all aspects of Team USA and the USOC are commercial:




           99.     Despite the USOC’s knowledge of rampant sexual abuse in its ranks, including in

  USA Diving, it continues to leave SafeSport radically underfunded and unsupported.



  28
       Safesport, SAFESPORT.ORG, www.safesport.org.

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             100.   In 2018, the USOC vowed to “double its funding” of SafeSport—but without

  saying what the original amount being “doubled” even is:

             How much funding does the USOC dedicate to safe sport?

                    Beginning in 2018, the USOC will effectively double its funding for the
             U.S. Center for SafeSport to enable the hiring of more investigators and staff,
             improve the timely resolution of cases, enhance ongoing communication for
             victims and their families, provide age-appropriate training on recognizing and
             helping to prevent abuse, and offer better and more accessible resources online. 29

             101.   The USOC has admitted that it “has an important responsibility to create positive,

  safe and secure environments for American athletes.”30

             102.   The USOC has stated that its “top priority is to protect, support and empower

  every athlete in our community.”31

             103.   At the same time, the USOC has admitted: “We recognize that the system failed

  too many girls and women, and we have already taken many important steps - including

  commissioning an independent investigation and demanding a complete leadership and culture

  change at USA Gymnastics.”32

             104.   Despite creating the Safe Sport Initiative in 2012, which it calls the “first-of-its-

  kind abuse prevention program,” it waited two years to even create the U.S. Center for Safe

  Sport:

             In June 2014, the USOC reaffirmed its commitment to advance the safety and well-being
             of American athletes by approving the creation of the U.S. Center for SafeSport – an
             independent entity designed to oversee education programs, and investigate and
             adjudicate sexual misconduct claims in sports that are managed by USOC-sanctioned



  29
       Safe Sport, TEAMUSA.ORG, https://www.teamusa.org/About-the-USOC/Safe-Sport
  30
       Safe Sport, TEAMUSA.ORG, https://www.teamusa.org/about-the-usoc/safe-sport
  31
       Id.
  32
       Id.

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             NGBs. Participation in the entity – which launched in March 2017 – is a condition of
             continued membership in the USOC.33

             105.   The USOC waited an additional three years to open the Center for Safe Sport in

  2017.

             106.   As this lawsuit exposes, the USOC has done absolutely nothing to stop any of the

  ongoing sexual abuse of the USA Diving athletes.

             107.   This is despicable given the actual knowledge that the USOC admits it had back

  in 2010:

             Why was the U.S. Center for SafeSport originally created?

                     In 2010, the USOC determined that sexual and physical abuse warranted
             greater attention and convened a working group of internal and external experts to
             provide recommendations about how to improve the community's prevention and
             response efforts. As the recommendations were implemented, the USOC
             concluded that the U.S. Olympic and Paralympic movements would benefit from
             the creation of an independent entity dedicated to investigating and resolving all
             allegations of sexual abuse associated with any of the USOC's recognized
             NGBs.34

             108.   In its own words, the USOC has stated that it alone “is responsible for the

  training, entering and funding” of Team USA and all Olympic sports.35

             109.   In its own words,36 the USOC has stated:




  33
       Id.
  34
       Id.
  35
       About the USOC, TEAMUSA.ORG, https://www.teamusa.org/About-the-USOC.
  36
   Inside the USOC, TEAMUSA.ORG, https://www.teamusa.org/About-the-USOC/Inside-the-
  USOC (emphasis added).

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            110.    As this case demonstrates, the USOC has breached its duty to meet either of its

  two responsibilities.

            111.    In the wake of the Larry Nassar scandal, Scott Blackmun, then-CEO of the

  USOC, was forced to write an open letter on January 24, 2018, to the victims of sexual abuse

  caused by the USOC and the NGBs, and in doing so admitted: “We have said it in other contexts,

  but we have not been direct enough with you. We are … sorry that you weren’t afforded a safe

  opportunity to pursue your sports dreams. The Olympic family is among those that have failed

  you.”37

            112.    In this January 24 letter, Mr. Blackmun also stated that the USOC must “Change

  the Corporate Structure of the NGB.”38

            113.    At the same time they were sexually exploiting and trafficking the very athletes

  whose labor generated all of the revenue, the Olympic officers made sure to pay themselves

  exorbitant salaries.

            114.    Scott Blackmun paid himself a salary of $1.25 million in 2013.

            115.    In 2016, there were 129 USOC employees who were paid more than $100,000.

            116.    Scott Blackmun and other USOC employees received thousands of dollars in “per

  diem” for the numerous days he spent traveling domestically and internationally.

            117.    In fact, the former CEO of USA Diving, Linda Paul, made $172,000 in salary and

  another $26,000 in other compensation in 2016.




  37
     Open Letters to Team USA Athletes Regarding Nasser Case, TEAMUSA.ORG, Jan. 24, 2018,
  https://www.teamusa.org/News/2018/January/24/Open-Letters-To-Team-USA-Athletes-
  Regarding-Nassar-Case
  38
       Id. (emphasis in original).

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         118.    USA Diving’s “high performance director,” Scott Foley, made nearly $140,000 in

  salary and $26,000 in other compensation in 2016.

         119.    Both Foley and Paul received a “per diem” similar to Blackmun.

         120.    USOC and NGB employees travel domestically and internationally to do site

  visits and attend conferences and meetings to award upcoming championships to interested cities

  and nations.

         121.    On these trips USOC and NGB employees are fawned over and wooed.

         122.    USOC and NGB officials do not want to jeopardize their lavish lifestyles.

         123.    These officials did not want to jeopardize their income or the hundred-million-

  dollar revenues of the USOC and its NGBs (including USA Diving) by stopping the sexual abuse

  committed by coaches such as Bohonyi.

         124.    To protect children and blow the whistle would have brought negative attention

  and jeopardized the commercial benefits they were reaping.

         125.    The USOC provides funding to each NGB.

         126.    For example, the USOC distributed $55.9 million in grants to its NGBs in 2016.39

         127.    The USOC is the largest single source of funding for USA Diving.

         128.    In order for a diver to participate in USA Diving-sanctioned events, it is necessary

  to be a USA Diving member.

         129.    USA Diving is the national governing body for the sport of diving, and, as such, is

  a member of the USOC.


  39
    UNITED STATES OLYMPIC COMMITTEE 2016 ANNUAL REPORT, supra note 25, at 27; see also
  Eddie Pells, With USOC in Turmoil, Athletes Testify About Sex-Abuse Cases, HOUSTON CHRON.
  (Apr. 18, 2018) (noting that the USOC, embroiled in sex abuse scandals, and with commercial
  partners hesitant to strike deals under the current climate, doubled its funding for the US Center
  for SafeSport, which opened in 2017, to $3.1 million in 2018).

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         130.     USA Diving is comprised of subdivisions, known as Associations (LDAs), which

  are defined as geographical areas.

         131.     Indiana is its own LDA.

         132.     Ohio is another separate LDA.

         133.     The membership of USA Diving consists of Athlete Members, Coach Members,

  Club Members, and others.

         134.     Athletes who seek to become U.S. Olympians in diving must be members of USA

  Diving.

         135.     USA Diving selects divers to compete in the Olympic Games, World

  Championships, and other competitions.

         136.     USA Diving submits the names of its selected athletes to the USOC for approval

  prior to international competitions, including but not limited to the Olympics.

         137.     USA Diving requires its coaches to obtain coaching licenses and credentials.

         138.     USA Diving requires its coaches to undergo specific training to become a USA

  Diving coach.

         139.     USA Diving now requires that its coach members undergo Safe Sport training

  concerning child sexual abuse.

         140.     This Safe Sport training was mandated by the USOC for USA Diving.

         141.     Since 1999 or before, the USOC has required USA Diving to carry specific

  insurance for sexual abuse.

         142.     Since 1999 or before, USA Diving has maintained liability insurance for the

  sexual abuse of its members.

         143.     USA Diving provides specific sexual molestation insurance to its clubs.



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            144.   USA Diving provides specific sexual molestation insurance coverage to the Ohio

  State Diving Club.

            145.   USA Diving provides specific sexual molestation insurance coverage to its

  coaches.

            146.   USA Diving provides or provided specific sexual molestation insurance coverage

  to William Bohonyi.

            147.   All Plaintiffs are among the intended beneficiaries of USA Diving sexual abuse

  insurance.

            148.   USA Diving has the exclusive power to expel coach members from USA Diving.

            149.   USA Diving began keeping a list of “permanently ineligible members” in 2015.40

            150.   William Bohonyi was the first coach publicly banned by USA Diving.

            151.   USA Diving had received numerous complaints about sexual abuse of minor and

  young adult athletes prior to 2015.

            152.   USA Diving has chosen not make these complaints public.

            153.   USA Diving has not reported any allegations of child sexual abuse committed by

  its member coaches to law enforcement.

            154.   Each USA Diving member, including Plaintiffs herein, had to abide by the rules

  and regulations of the USOC and USA Diving when competing in USA Diving sanctioned

  events.




  40
     See U.S. Center for Safe Sport, Permanently Ineligible Members,
  https://www.teamusa.org/USA-Diving/Resources/Safe-Sport/Permanently-Ineligible-Members
  (last visited June 28, 2018).

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          155.   USA Diving members, including Plaintiffs, also had to comply with the drug

  testing protocols and procedures of the USOC controlled United States Anti-Doping

  Administration.41

          156.   To be a USA Diving member, an individual athlete such as the Plaintiffs herein

  must pay dues to USA Diving.

          157.   Part of the dues paid by Plaintiffs went towards the financial grants awarded to

  Bohonyi and the clubs for which he coached by Defendants USOC and USA Diving.

          158.   Similarly, for a diving club to be considered a USA Diving member club, like

  Defendant Ohio State University Diving Club, the club must pay dues, meet certain minimum

  standards set out by USA Diving including purchasing required sexual abuse insurance.

          159.   And if the member club seeks to hold a USA Diving sanctioned event at the club,

  it must pay a fee.

          160.   All those who seek to coach, judge, or participate in USA Diving-sanctioned

  events must also pay a membership fee.

          161.   Part of each membership fee is used to purchase specific sexual abuse insurance.

          162.   Each NGB is mandated to carry specific sexual abuse insurance coverage by the

  USOC.

          163.   The exchange of money for membership creates a fiduciary relationship and a

  duty between USA Diving and its members, athletes, and coaches.




  41
    USADA’s CEO Travis Tygert and Legal Affairs Director Onye Ikwuakor both litigated
  against children who were molested in USOC-controlled sports while they worked for Holme
  Roberts & Owen (now Bryan Cave) in Colorado Springs. Former USOC CEO Scott Blackmun
  was a partner at Bryan Cave.
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            164.   Even so, USA Diving took no action to protect its athletes from sexual predators,

  like William Bohonyi, who was well known to prey on young athletes.

            165.   In fact, until February of 2015, USA Diving would only consider banning a coach

  if that coach had been criminally convicted of sexual misconduct.

            166.   Even after making Bohonyi the first “permanently ineligible member in 2015”

  USA Diving did nothing to stop Bohonyi from coaching USA Diving members.

            167.   The USOC has done nothing to force USA Diving to sever its relationship with

  Bohonyi.

            168.   USA Diving has done absolutely nothing to keep Bohonyi from coaching its

  members, including its minor female members who are known to be vulnerable victims to

  pedophiles like Bohonyi.

            169.   Instead of walling off its athletes from Bohonyi, USA Diving has instead

  continued to do business with a company that prominently employs Bohonyi.

            170.   Despite having actual knowledge of the need to do so, USA Diving failed to

  adopt any policies, rules, or procedures to keep athletes safe from sexual abuse.

            171.   USA Diving provided funding to Bohonyi and the clubs he coached for.

            172.   Bohonyi financially benefited from his participation in USA Diving-sanctioned

  events.

            173.   At all relevant times, from the 2008 to 2015, Bohonyi was the agent, servant,

  and/or employee of USA Diving because he coached USA Diving members at USA Diving

  member clubs and traveled with these teams to USA Diving-sanctioned events.

            174.   At all relevant times, from the 2008 to 2015, Bohonyi was cloaked with the actual

  and apparent authority to represent USA Diving.



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         175.    By 2014, USA Diving had received complaints that William Bohonyi was

  routinely sexually exploiting, assaulting, and raping multiple female athletes that were entrusted

  into the protection (and bound by the commercial terms of) USA Diving.42

         176.    USA Diving knew or was willfully blind to the fact that the Bohonyi presented a

  clear and present danger to young female athletes.

         Ohio State University Diving Club

         177.    In July 2014, the Ohio State University came into possession of hundreds of nude

  pictures of Plaintiff Estee Pryor as a minor.

         178.    The pictures displayed Estee naked and, therefore, were child pornography.

         179.    The pictures showed Estee engaged in sexual acts as a minor and, therefore, were

  child pornography.

         180.    As depicted in the hundreds of nude pictures first given to the Ohio State

  University in July and August, Estee was 16 or 17 years old in all of these photographs.

         181.    In the almost four years that the Ohio State University has been in the possession

  of this child pornography, no action has been taken by Ohio State or the Ohio State Police

  Department.

         182.    The Ohio State Office of Human Resources investigated the allegations made by

  Pryor against Bohonyi.

         183.    On August 29, 2014, the Ohio State Office of Human Resources recommended

  Bohonyi be terminated.

         184.    This report was provided to USA Diving.



  42
    For purposes of this Complaint, “rape” means any non-consensual sexual activity, that would
  be considered criminal, including the sexual touching of minors.

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           185.   USA Diving took no action against Bohonyi following his termination by Ohio

  State.

           186.   USA Diving only investigated Bohonyi after the lobbying of a concerned coach

  who knew of a previous incident involving Bohonyi.

           187.   USA Diving waited until February 2015 to make Bohonyi “permanently ineligible

  for membership.”

           188.   Because of the delay in action by USA Diving between July 2014 and February

  2015, Bohonyi continued to sexually prey on his victims, including Plaintiff Estee Pryor, a

  vulnerable athlete forced to engage in sexual acts by coach Bohonyi.

           189.   Bohonyi forced Pryor to perform sexual services numerous times between August

  2014 and February 2015.

           190.   When doing so, Bohonyi psychologically coerced Estee into believing that she was

  required to perform sexual services in exchange for her continued involvement in diving. He

  preyed on her age, vulnerability, and dreams of becoming an Olympian, and used the power

  structure and imbalance of power (coach/athlete) to make her believe she was required to sexually

  service him in exchange for her involvement in diving for Team USA.

           191.   Several of these sexual acts occurred on the campus of the Ohio State University.

           192.   Several of these sexual acts occurred in Bohonyi’s car before and after diving

  practice.

           Congress Is Forced to Step In: The Sports Abuse Act 2017

           193.   Because the USOC did nothing to stop the sexual abuse and exploitation of Team

  USA’s athletes for so many years, Congress finally intervened in 2017.

           194.   The 2017 Sports Abuse Act was overwhelmingly popular and bipartisan.



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             195.   It sailed through the House (406-3), was approved by the Senate unanimously,

  was quickly signed by the President, and took effect in February 2018.

             196.   At the time, Senator Nelson said: “It’s a stain on our country that many of our

  own young Olympic athletes were sexually abused for years by the very adults they entrusted to

  train them and keep them safe.”

             197.   Senator Nelson continued: “No aspiring athlete deserves to have their dream or

  moment of Olympic gold stolen from them by the actions of a sexual predator. These heinous

  crimes and the culture that allowed them to go undetected for so long must come to an

  immediate end.”

             198.   Senator Donnelly said: “Amateur athletics governing bodies like USA

  Gymnastics have an obligation to athletes, parents, and the sport to ensure that athletes are

  safe.”43

             199.   In announcing the 2017 Sports Abuse Act, Senator Collins applauded the

  multitude of Olympic sex abuse victims who spoke out in the face of retaliation by Team USA,

  and she criticized the “corrupt system” that had allowed sexual abuse to fester in Team USA

  sports for decades.44

             200.   Senator Collins explained that the 2017 Act “reform[s] the law that allows victims

  to sue sex-crime perpetrators by extending the statute of limitations because it’s often difficult




  43
     Senator Dianne Feinstein, Senate Passes Bill Requiring U.S. Amateur Athletic Organizations
  to Report Sexual Abuse, FEINSTEIN.SENTATE.GOV (Nov. 14, 2017),
  https://www.feinstein.senate.gov/public/index.cfm/press-releases?ID=2BEC8C16-43E4-412A-
  8660-3E7EC73104F9.
  44
       Id.

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  for children to recognize that they have had crimes committed against them until much later on

  into adulthood.”45

             201.   Senator Feinstein (co-author of the law) pointed out that the 2017 Sports Abuse

  Act “extends the statute of limitations so that victims can sue their abusers 10 years after they

  become aware of their abuse. This is important because, tragically, survivors often do not fully

  become aware of their abuse until later in life.”46

             202.   As part of the 2017 Sports Abuse Act, Congress clarified that an Olympic “event”

  is more than just the moment of competition; Congress defined the term “event” such that it

  “includes travel, lodging, practice, competition, and health or medical treatment.”47

                                   PLAINTIFF-SPECIFIC ALLEGATIONS

             Sexual Abuse, Exploitation, and Forced Labor of Plaintiff Marissa Johnson

             203.   Marissa was born in November, 1990, and grew up in Arizona.

             204.   Marissa started diving at a young age; she was an accomplished junior diver and a

  USA Diving member.

             205.   In 2008, Indiana University’s Diving Club, a USA Diving-certified club, was the

  premier diving program in the NCAA.

             206.   Marissa earned a scholarship to dive at Indiana University (“IU”).

             207.   As a result, Marissa left Arizona and moved to Bloomington, Indiana, in May

  2008.




  45
       Id.
  46
       Id.
  47
       34 U.S.C. § 20341(10).

                                                    29
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             208.   Marissa dove for the Indiana University Diving Club from May 2008 until IU

  began classes in August 2008.

             209.   Will Bohonyi was the coach of the Indiana University Diving club from May

  2008 until August 2008.

             210.   In August 2008, Bohonyi became a volunteer assistant diving coach at Indiana

  University.

             211.   Bohonyi was 23 years old in 2008.

             212.   In October 2008, Marissa was 17 years old.

             213.   While diving for IU in the fall of 2008, Marissa experienced harassment about her

  weight from IU diving coach Jeff Huber.

             214.   Jeff Huber is now the director of education for USA Diving.

             215.   Jeff Huber red-shirted Marissa in the fall of 2008.

             216.   Bohonyi befriended Marissa and encouraged her to continue diving despite

  Huber’s comments about her appearance and weight.

             217.   In October 2008, Bohonyi asked Marissa to send him a naked picture of herself.

             218.   Marissa resisted but then complied and sent Bohonyi several naked pictures of

  herself.

             219.   At the time, she was 17.

             220.   In late October or early November 2014, Bohonyi asked Marissa to engage in

  sexual intercourse with him.

             221.   Marissa refused.

             222.   Bohonyi threatened to tell Marissa’s boyfriend that she had sent him naked

  pictures if she did not comply with his request for sex.



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          223.    Marissa relented and performed oral sex on Bohonyi in November 2008, when

  she was 17 years old.

          Sexual Abuse, Exploitation, and Forced Labor of Plaintiff Logan Kline

          224.    Plaintiff Logan Kline was a USA Diving member athlete from approximately

  December 2003 until August 2012.

          225.    Before college, Logan dove for the Jayhawk Diving Club in Kansas.

          226.    In May of 2009, Logan moved from her hometown in Kansas to Bloomington,

  Indiana, to train at the Indiana Diving Club, a USA Diving-certified club and one of the best

  diving programs in the United States.

          227.    As an incoming freshman at Indiana University (“IU”), she took summer courses

  and trained with the club; Logan dove collegiately under head coach Jeff Huber from August

  2009 through the summer of 2011.

          228.    In 2009 Jeff Huber was the diving coach for IU.

          229.    In 2009 Jeff Huber was the head coach for the Indiana Diving Club.

          230.    At all times Jeff Huber was a member of USA Diving.

          231.    Huber is currently the Director of Education for USA Diving.

          232.    Huber was hard on his female athletes about their weight, and Logan struggled

  with this criticism.

          233.    Bohonyi was an assistant coach at Indiana Diving Club.

          234.    Bohonyi’s direct supervisor at the Indiana Diving Club was Jeff Huber.

          235.    Logan was new to the area and did not have a car.

          236.    Bohonyi acted as one of Logan’s coaches; he mentored her and cultivated a

  relationship with her.



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         237.    Bohonyi gave Logan rides to practice and was sympathetic about the self-doubt

  and self-consciousness Logan felt because of Huber’s criticisms.

         238.    Bohonyi took advantage of Logan’s frustration with Huber by complimenting

  Logan about her body and encouraging her to continue diving—and to continue working with

  him to advance her diving career.

         239.    Although Logan had never engaged in any sexual act other than kissing with

  anyone else, Bohonyi quickly steered the relationship into a sexual one.

         240.    He demanded oral sex from Logan within the first month and a half of meeting

  her, and in doing so he forced her to trade sex for diving coaching.

         241.    Within the first months of their relationship, he engaged in sexual intercourse

  with her.

         242.    Despite being nearly five years older than her, and her USA Diving-certified

  coach, Bohonyi requested and forced Logan into having at least one sexual act a day while he

  was acting as her coach.

         243.    He made clear to Logan that this exchange was required for him to continue

  coaching her as part of USA Diving.

         244.    Bohonyi engaged in psychological coercion to force Logan to engage in sexual

  services in exchange for diving coaching. Logan feared that Bohonyi would lose interest in her if

  she refused his sexual demands, and that her diving would suffer because we would no longer

  coach her.

         245.    Bohonyi routinely scheduled “drive-bys” of the residence where Logan lived, and

  he requested sex from Logan while in his car when doing so.




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         246.     By Logan’s second summer in Bloomington, Bohonyi demanded sexual services

  on a regular basis, and he forced her to text him sexually explicit photographs of herself to his

  cell phone.

         247.     While he was acting as her coach, Bohonyi consistently required some form of

  sex from Logan on a daily basis.

         248.     A frequent statement he would make, in anticipation of sexual activity, to Logan

  was: “You owe me this.”

         249.     Although he insisted upon these sexual services in exchange for coaching in

  diving, Bohonyi never took Logan out on a date in public to a restaurant or the movies or spent

  money on her.

         250.     They did not exchange gifts for holidays or special occasions.

         251.     In other words, it was not a dating relationship. It was an exploitative sexual

  relationship in which Bohonyi demanded sexual services because he was her diving coach and

  could coerce Logan into sexually servicing him. Bohonyi used his position of authority and

  control over Logan as a USA Diving Coach to demand and obtain daily sexual services.

         252.     Bohonyi was extremely aggressive in making these demands and never took “no”

  as an answer from Logan. She was not free to refuse her sexual services and he forced her to

  provide him sexual services every time he demanded them.

         253.     On July 9 to 11, 2010, Logan traveled with Bohonyi and the Indiana Dive

  Club/IU to Christiansburg, Virginia for USA Diving Zone Championships, a mandatory

  qualifying meet preceding USA Diving’s National Championship.

         254.     Bohonyi travelled with the team of eight IU divers. He was the only coach.




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         255.    At this competition, Logan was forced to engage in a sexual act with Bohonyi in

  his hotel room.

         256.    In July 2011, Logan traveled with the IU Dive team to the University of

  California – Los Angeles (UCLA) to compete in Summer Nationals. This meet was a qualifier

  for the 2011 Pan Am Games.

         257.    USA Diving/IU/Indiana Dive Club sponsored the athletes and coaches, funded

  their trip, paid their per diem, and paid their flight, hotel and other expenses related to Nationals.

         258.    Bohonyi traveled with the team of approximately 25 divers as an IU coach.

         259.    At this competition, Bohonyi forced Logan to engage in numerous sexual acts in

  his hotel room because he was the diving coach. He pressured her to provide sexual services

  because he was the coach and she was his athlete.

         260.    Logan ultimately transferred for her last two years of college to Virginia Tech

  University, where she was an NCAA DI All-American diver and Academic All-American.

         261.    After Logan transferred to Virginia Tech, there were times when she would return

  to Bloomington, Indiana, to visit friends at IU.

         262.    During her visits to IU, Bohonyi would contact her via text messages or phone

  calls to suggest that we get together so that Logan could “give him a blow job” or have anal sex:

  He would say “don’t you want to do me?” or “don’t you miss the anal sex?”

         263.    One time when Logan had returned to IU to visit, she went to see Bohonyi in his

  apartment, and found him in bed with a young girl.

         264.    In the summer of 2013, Bohonyi sent Logan a text message inquiring whether she

  was sure that she did not want “anal” one more time.




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         265.    In October 2014, Logan was contacted via Facebook by Estee Pryor, then a 17-

  year-old member of the Ohio State University Diving Club, who confided in Logan that she was

  being coached by Bohonyi.

         266.    Estee had learned of Logan’s prior relationship with Bohonyi, and reached out to

  discuss the exploitative sexual relationship that had developed between herself (Estee) and

  Bohonyi.

         267.    Logan was staggered by the similarities between her own relationship with

  Bohonyi and the one Estee described, including the quick progression from friendly coach to a

  sexual relationship that featured demands for “blow jobs” in Bohonyi’s car on a regular basis.

         268.    After Bohonyi was dismissed from Ohio State University in 2015, he attempted to

  call Logan but she declined to take his call.

         269.    Logan believes Bohonyi was attempting to prevent her from sharing information

  about the nature of their “relationship” with USA Diving and legal authorities.

         270.    Logan has suffered a variety of physical and mental symptoms as a result of the

  personal injuries caused by Bohonyi and USA Diving.

         Sexual Abuse, Exploitation, and Forced Labor of Plaintiff Estee Pryor

         271.    Bohonyi was allowed to victimize Estee in nearly the exact same way that he

  abused Logan Kline, because the officials and entities in charge of policing Bohonyi did nothing

  to stop him.

         272.    Eszter “Estee” Pryor was born in in 1997 in Romania. She was adopted as a

  young child by parents in Ohio.

         273.    Estee was an aspiring young diver, and an Olympic hopeful; she won a bronze

  medal on Platform at the 2013 Pan Am Juniors in Tucson, Arizona.



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            274.    In order to advance her career in diving and increase her chances of obtaining the

  commercial benefits of becoming an Olympian, Pryor sought out the most accomplished diving

  program in her area.

            275.    That program was the Ohio State University Diving Club.48

            276.    The Ohio State Diving Club practices on the campus of The Ohio State University

  in Columbus, Ohio.

            277.    Steve Skilkens is a former all-American diver for Ohio State, and a major Ohio

  State Diving booster.

            278.    Steve Skilkens owns or has a financial interest in the apparel company, Nayked

  Apparel.

            279.    Steve Skilkens and his family were friends with Bohonyi and promoted him to

  young, female athletes who were divers. Bohonyi had free access to the Skilkins’ home.

            280.    In June 2014, while Estee was babysitting at the Skilkens’ home one afternoon,

  Bohonyi invited himself over.

            281.    While there, Bohonyi was Snapchatting underage girls from the diving team.

            282.    At the time, Bohonyi was the coach of the Ohio State Diving Club, a USA Diving

  certified club.

            283.    In 2014, Bohonyi was 29 years old.

            284.    Estee’s relationship with coach Bohonyi was friendly at first but it quickly became

  sexual.

            285.    On July 4, 2014, Bohonyi told Estee to send him naked pictures of herself.



  48
   In 2008, Estee joined the US Elite Diving Academy, and in 2010 the US Elite Diving
  Academy became the Ohio State Diving Club. There was no change in coaches between the
  Ohio State Diving Club and the US Elite Diving Academy.
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         286.    Estee was 16 years old.

         287.    She did as Bohonyi told her.

         288.    On July 7, 2014, Bohonyi forced Estee to perform oral sex on him on the Ohio State

  campus.

         289.    She was 16 years old.

         290.    Estee Pryor competed on numerous international teams for USA Diving, including

  the Junior World Team in Australia, the Puerto Rico Grand Prix and the Canada Cup.

         291.    USA Diving paid for Estee’s meals, travel, and lodging at these meets and at others.

         292.    In mid-July, 2014, Estee traveled with the Ohio State Diving team, with Bohonyi

  acting as coach, to Bethesda, Maryland for Nationals, which was a USA Diving-sanctioned event.

         293.    During this trip, on or about July 17, 2014, Bohonyi forced Estee to engage in

  sexual intercourse.

         294.    During this trip, Estee’s 2012 Olympic-trial synchronized diving partner, Rachel

  Rubadue, became aware that Estee was involved in a sexual relationship with Bohonyi.

         295.    Rubadue told her parents of the of the sexual relationship between Estee and coach

  Bohonyi.

         296.    Rubadue parents informed the head Ohio State Diving Club coach, John

  Appleman, of the allegations that Estee was engaged in a sexual relationship with Will.

         297.    Neither USA Diving nor Ohio State took any immediate action against Bohonyi.

         298.    In 2014, when Estee was 17 years old, Estee’s teammates discovered her illegal

  sexual relationship with Defendant (and USA Diving certified coach) Bohonyi at a USA Diving-

  sanctioned and controlled meet (the Junior Nationals) competition in Bethesda, Maryland.




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          299.   Estee had traveled across several state lines to attend this event from her home in

  Ohio.

          300.   Her own teammate (also an underage, female diver) was required to inform the

  head Ohio State Diving club coach in August 2014 (at Senior Nationals, in Knoxville,

  Tennessee) that Estee was being sexually abused by her USA Diving-certified coach.

          301.   Estee had just turned 17 years old. Even though she was the victim, the

  administration at Ohio State University decided to send her home from the meet, not the

  perpetrator who sexually abused her—Coach Bohonyi.

          302.   From at least 2008 onward, USA Diving knowingly promoted, empowered, and

  clothed Defendant William Bohonyi with the authority, legitimacy, and trustworthiness of being

  an official coach of Team USA’s diving members.

          303.   Despite placing Bohonyi on its banned list in 2015, USA Diving has continued to

  provide Bohonyi access to underage female victims by doing nothing to stop him from

  continuing to act as a coach of diving.

          304.   USA Diving failed to report Bohonyi to law enforcement for being a serial rapist

  of minors, as required by both Indiana and Ohio law.

          305.   Through at least May 2018, USA Diving took no action to stop Bohonyi from

  privately coaching USA Diving members, including female USA Diving members who are

  under the age of 18.

          306.   Up through the filing of this lawsuit, USA Diving has continued to do business

  with Nayked Apparel, which openly and notoriously employs Bohonyi as a promotional and

  marketing specialist.




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         307.     Nayked Apparel provided the meet t-shirts for the 2017 USA Diving Senior

  Nationals in Columbus, Ohio.

         308.     Here’s a photograph showing Nayked’s sponsorship of USA Diving at a 2017 US

  Diving Meet in Columbus, Ohio:




         309.     USA Diving knows or is willfully blind to the fact that Bohonyi works for

  Nayked Apparel.

         310.     This commercial relationship between Nayked Apparel and USA Diving allows

  Bohonyi to thrive as a pedophile and provides him with “cover” that he is not banned from

  participating with USA Diving. As a result, he is seen to work directly with USA Diving through

  Nayked Apparel. Child athletes and their parents are confused or deceived by this commercial

  relationship.

         311.     But for Bohonyi’s status as coach, and now business associate of USA Diving in

  which he is clothed with the authority, legitimacy, and trustworthiness of USA Diving, he never

  could have gained access to or power over those female divers he victimized. These athletes

  were misled and deceived by his status as a USA Diving coach and business associate.




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            312.   In February 2015, USA Diving finally placed Bohonyi’s name on a list of

  “permanently ineligible” members.49

            313.   But this list is not prominently displayed or publicized, and numerous athletes and

  law professors have reported that the list is not easily accessible.

            314.   By 2017, USA Diving had actual knowledge that Will Bohonyi was still coaching

  minor female USA Diving athletes in Westerville, Ohio.

            315.   In fact, William Bohonyi was still coaching USA Diving athletes through at least

  the winter of 2017- 2018.

            316.   Although USA Diving posted Bohonyi on a “permanently ineligible” list, USA

  Diving has taken no action whatsoever to enforce Bohonyi’s ban. It did not take action to

  affirmatively protect Estee or any other athletes from Bohonyi, a known serial pedophile and

  rapist.

            317.   This lack of action is compounded by the fact the “banned list” is not prominently

  displayed on a website that children athletes or other members of the public can quickly and

  easily access.

            318.   Bohonyi was easily able to disappear from Ohio State and then reappear without

  USA Diving or the USOC making sure that other athletes were protected from him.

            319.   In fact, Bohonyi was openly and notoriously coaching diving at Westerville

  Community Center through at least the winter of 2017-18, as well as privately coaching

  members of USA Diving, including minor female members.




  49
    U.S. Center for Safe Sport, Permanently Ineligible Members, https://www.teamusa.org/USA-
  Diving/Resources/Safe-Sport/Permanently-Ineligible-Members (last visited June 28, 2018).
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          320.   Trying to overcome the abuse and exploitation she suffered, Estee earned a full

  scholarship to compete in diving for Penn State.

          321.   She was unable to compete for Penn State, however, because she constantly had

  to deal with Bohonyi and the hell he inflicted upon her.

          322.   USA Diving’s commercial interests are aligned with Bohonyi’s in other ways:

  Nayked Apparel provided the t-shirts for the 2017 USA Diving Senior Nationals in Columbus,

  Ohio.

          323.   As of December 2017, Bohonyi was privately coaching a USA Diving and Ohio

  State club member and competitor of Estee Pryor, Esther Lawrence, in Ohio.

          324.   Without any assistance from USA Diving or any other Defendant, Estee sought

  and obtained a protective order against her coach, Bohonyi.

          325.   Despite that protective order, USA Diving still allowed Bohonyi to freely roam

  around (and seek to prey upon) other young, female athletes.

          326.   Likewise, USA Diving took no action to protect other female athletes from

  Bohonyi, even though they knew that Bohonyi was a serial sexual predator who had preyed on

  numerous female athletes, not just Estee.

          327.   Between September 2014 and March 2015, while Estee was 17 years old, Will

  continued—on a weekly basis—to force Estee to engage in oral, anal, and vaginal sex.

          328.   Although Bohonyi had been fired from Ohio State, he was still a member in good

  standing with USA Diving when these sexual acts occurred.

          329.   He coerced and manipulate Estee into sexual acts by saying that she “owed him

  this” and that she had lost him his job.

          330.   Bohonyi made her “play games” and engage in deviant sexual acts.



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         331.    Bohonyi would post the “rules” for the “game” of their next sexual engagement on

  his apartment door.

         332.    Bohonyi demanded Estee use a dildo and penetrate him anally with it.

         333.    Bohonyi would time her on how quickly he reached orgasm.

         334.    Bohonyi demanded to be “snowballed”; wherein Estee would use a turkey baster

  to force ejaculate into Bohonyi’s mouth.

         335.    Bohonyi manipulated Estee and instructed her exactly what to report (falsely) to

  Ohio State during Ohio State’s investigation so that they would not uncover his crimes.

         336.    Bohonyi exploited the fact that Estee’s dad suffered from alcoholism, which had

  been triggered by Estee’s brother’s untimely death.

         337.    USA Diving initially refused to investigate Bohonyi, despite having been given a

  report summarizing Ohio State’s investigation.

         338.    It was not until an Indiana coach reported Bohonyi’s exploitation of Estee Pryor to

  USA Diving that USA Diving elected to even begin investigating Estee’s allegations against

  Bohonyi.

         339.    USA Diving was informed that Bohonyi had made Estee create hundreds of pieces

  of child pornography for him.

         340.    USA Diving did not report any of Estee’s allegations to law enforcement.

         341.    USA Diving waited until February 2015 to ban Bohonyi.

         342.    Estee had two visits to the psychiatric ward during the spring of 2015.

         343.    In mid-April, 2015, Estee’s parents sent her to a therapy program for sexual trauma

  in St. George, Utah.

         344.    Estee turned 18 on July 12, 2015.



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          345.   When she returned from Utah/returned to Ohio State to train, she met Bohonyi

  several times in his car and was forced to perform oral sex on him.

          346.   Some of these sexual encounters occurred on the campus of Ohio State.

          347.   All of these encounters would not have occurred if Ohio State had turned over the

  hundreds of pictures of child pornography produced at Bohonyi’s direction to the appropriate law

  enforcement agency.

          348.   Estee had sex with Bohonyi for the last time in August 2015.

          349.   Since this time, she has been harassed by the diving community. This harassment

  included anonymous letters sent to her high school, anonymous text messages, and sticky notes

  left for her that said “slut,” “whore,” and “die.”

          350.   At New Albany High School, she was bullied repeatedly and taunted by her

  classmates at the direction of USA Diving members. She received continuous animus text

  messages and had to change her phone number in August 2014.

          351.   Three members of the Ohio State Dive Club attended her high school and bullied

  her because she had reported her abuse and exploitation and implicated diving coaches and entities.

          352.   In retaliation, Estee was also forced to move down to a lower level on the diving

  team.

          353.   Her father sought and obtained a protective order in October of 2015 against

  Bohonyi.

          354.   Even at this time, neither USA Diving nor Ohio State reported Bohonyi to law

  enforcement outside of The Ohio State University Police Department.

          355.   USA Diving knew or should have known that William Bohonyi, a USA Diving

  certified coach, was engaging in sexual contact with minor athletes on their trips.



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          356.    Prior to August 1, 2014 USA Diving took no action whatsoever to prevent sexual

  contact between coaches and minor athletes.

          357.    Prior to 2015 the USOC took no action to ensure that the NGBs under their control

  adopted and implemented the USOC mandated Safe Sport Program(s).

          358.    At least by July 2014, USA Diving had knowledge that Bohonyi sexually assaulted

  female athletes on numerous occasions.

          359.    Despite this knowledge, USA Diving did not decertify or otherwise ban, sanction,

  or report William Bohonyi until February 10, 2015.

          360.    This six-plus-month delay allowed Bohonyi to rape Estee countless times.

          361.    In 2016, SafeSport reached out to Estee.

          362.    Safe Sport wanted Estee to review power point slides about the Safe Sport Process.

          363.    SafeSport wanted to use Estee’s case as a model for how SafeSport should handle

  complaints.

          364.    In reality, SafeSport did nothing to help Estee and only wanted to use her as a tool

  for their public relations stunts.

          365.    Estee asked SafeSport to investigate USA Diving’s ongoing relationship with

  Bohonyi.

          366.    But SafeSport did nothing.

          367.    And USA Diving was not interested in discussing its ongoing relationship with

  Bohonyi or his employer, Nayked Apparel.

          368.    Instead, SafeSport wanted to inquire about nonsensical details that had nothing to

  do with keeping Estee safe, like a game that Estee and her teammates engaged in called, ‘fuck one,

  kill one, marry one?’



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         369.    Estee has suffered a range of mental and physical symptoms as a result of the

  personal injuries caused by the actions of Defendants. Among other injuries she has suffered, she

  has incurred medical bills and counseling expenses, lost her scholarship to Penn State, and is likely

  unable to maintain any long-term employment because of the severe emotional trauma inflicted

  by her repeated sexual abuse and exploitation by Defendants.

                                     CLASS ACTION ALLEGATIONS

         370.    Plaintiff brings this action individually and pursuant to Federal Rule of Civil

  Procedure 23(b)(2) and (b)(3) or (c)(4) on behalf of herself and the following “Nationwide

  Classes”:

         (b)(2) Injunction Class

         All USA Diving athlete members (subject to the USOC’s “commercial terms” page or
         any other contract with the USOC or USA Diving).

         (b)(3) and/or (c)(4) Damage Class

         All USA Diving athlete members (subject to the USA Diving’s “commercial terms” page
         or any other contract) who (1) participated in diving from 2008 to the present and (2)
         traveled or trained with William Bohonyi.

         371.    The Classes consist of hundreds, if not thousands, of women throughout the U.S.,

  making joinder impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class

  and the identities of the individual members are ascertainable through records maintained by USA

  Diving (and its predecessors), the U.S. Center for Safe Sport, USA Diving member clubs, William

  Bohonyi, and others.

         372.    The claims of Plaintiffs are typical of the Classes. The claims of Plaintiffs and the

  Classes are based on the same legal theories and arise from the same unlawful pattern and practice

  of sexual abuse, exploitation, and trafficking of female divers and other athletes; the promotion

  and cover-up of this misconduct; and the commercial benefits Defendants received engaging in

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  this misconduct.

         373.    There are many questions of law and fact common to the claims of Plaintiffs and

  the Classes, and those questions predominate over any questions that may affect only individual

  Class members within the meaning of Fed. R. Civ. P. 23(a)(2), (b)(3), and (c)(4).

         374.    Common questions of fact or common questions of law affecting members of the

  Classes include, but are not limited to, the following:

          a. Whether Defendants owed a legal duty to the members of the Class under federal
  and/or state law?

         b. Whether Defendants’ violations of the TVPA were knowing?

         c. Whether the Defendants engaged in commercial sex trafficking?

         d. Whether the Defendants engaged in forced labor or services?

         e. Whether Bohonyi engaged in a pattern of sexual abuse and exploitation (sexual and
  physical misconduct)?

         f. Whether Bohonyi’s pattern of sexual abuse and exploitation was committed within
  the scope of his commercial arrangements/agency/employment with USA Diving?

         g.      Whether each Defendant had knowledge of or was willfully blind to Bohonyi’s
  sexual and physical misconduct?

         h.       Whether each Defendant facilitated the sexual misconduct?

        i.      Whether each Defendant acted in reckless disregard of the sexual and physical
  misconduct committed by Bohonyi?

         j.       Whether each Defendant engaged in conduct designed to suppress, cover-up, or
  “in any way interfere with” complaints or reports regarding the sexual and physical misconduct
  of Bohonyi?

         k.     Whether any Defendant negligently hired, retained, supervised, certified, or
  endorsed Bohonyi?

          l.       Whether any Defendant negligently failed to oversee the conduct of its member
  clubs, and their USA Diving certified coaches, including William Bohonyi?

         375.    Absent a class action, most of the members of the Classes would find the cost of
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  litigating their claims to be prohibitive and would have no effective remedy. The class treatment

  of common questions of law and fact is also superior to multiple individual actions or piecemeal

  litigation, particularly as to liability, in that it conserves the resources of the courts and the litigants

  and promotes the consistency and efficiency of adjudication.

          376.    Plaintiffs will fairly and adequately represent and protect the interests of the

  Classes. Plaintiffs have retained counsel with substantial experience in prosecuting complex

  litigation and class actions, and who have expertise in prosecuting personal injury, sexual abuse,

  and civil rights cases on behalf of vulnerable victims.

          377.    Plaintiffs and their counsel are committed to vigorously prosecuting this action on

  behalf of the other Class members, and they have the financial resources and experience in

  handling sex abuse cases to do so.

          378.    Neither Plaintiffs nor their counsel have any interests adverse to those of the other

  members of the Classes.

          379.    Plaintiffs and the Class will have personal injury damages that are individualized,

  but those can be managed separately.

                                             CLAIMS FOR RELIEF

          380.      The Sports Abuse Act of 2017 specifically amended the civil remedy provision

  in 18 U.S.C. § 2255, which incorporates the Trafficking Victims Protection Act (“TVPA”) and a

  multitude of criminal sexual abuse statutes.

          381.      Section 2255 was enacted to allow minor victims of sex trafficking, forced labor,

  sexual exploitation, and other crimes, to file a civil lawsuit in federal district court and seek a

  wide range of remedies. Section 2255 imposes civil liability against those who commit or benefit

  from the sexual exploitation of minors.



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         382.       The Trafficking Victims Protection Act (“TVPA”), 18 U.S.C. §§ 1589-96,

  creates civil liability for those who commit or benefit from forced labor or services or sex

  trafficking and trafficking-related offenses, including those offenses enumerated in 18 U.S.C. §§

  1589, 1590, and 1591. Violations of the TVPA include: forcing someone into labor or sexual

  services; knowingly benefitting from such forced labor or services; recruiting or transporting a

  person for labor or services against their will, especially if those actions include sexual abuse;

  attempting to commit these trafficking offenses; conspiring to commit these trafficking offenses;

  obstructing or interfering with efforts to enforce the TVPA; and benefitting financially from

  these offenses.

         383.       The TVPA expressly authorizes civil remedies against both the perpetrator and

  others who knowingly benefit from violations of the TVPA. See 18 U.S.C. § 1595(a).

         384.       Each of the Defendants benefitted financially and/or received something of value

  from the exploitation, forced sexual acts, and forced labor of the Plaintiffs. Under both the TVPA

  and Section 2255, the Defendants are liable for the following federal causes of action, as well as

  the state law claims alleged below.

  Counts of LOGAN KLINE for Violations of Federal Law

                                               COUNT 1

                     Forced Labor in Violation of 18 U.S.C. § 1589(a), § 1595(a)

                                By Logan Kline against William Bohonyi

         385.       Logan realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         386.       Logan is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provisions of 18 U.S.C. § 1595(a).



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             387.   In violation of 18 U.S.C. §§ 1589(a) and 1595(a), Defendant William Bohonyi

  knowingly obtained forced sexual services from Logan by means of serious harm or threats of

  serious harm in violation of 18 U.S.C. § 1589(a)(2), and through a scheme, plan, or pattern, he

  intended to cause Logan to believe that she was required to engage in sexual acts (service) in

  exchange for his coaching her in diving.

             388.   Bohonyi manipulated her to believe that if she did not perform such labor or

  services, she would suffer serious harm and damage to her reputation and status as a diving

  athlete.

             389.   As a direct and proximate result of the actions of the Defendants, Logan has

  suffered personal injuries, including severe emotional distress, physical injuries, and economic

  losses, and these injuries continue.

             390.   Logan claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

                                               COUNT 2

                     Forced Labor in Violation of 18 U.S.C. § 1589(b), § 1595(a)

                                  By Logan Kline against USA Diving

             391.   Logan realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

             392.   Logan is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a).

             393.   In violation of 18 U.S.C. §§ 1589 and 1595(a), USA Diving, through its agent,

  Defendant William Bohonyi, knowingly benefitted from participation in a venture with William

  Bohonyi, knowing or in reckless disregard of the fact that the venture was engaged in the



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  providing or obtaining of Logan’s labor or services by means of force, threats of force, physical

  restraint, threats of physical restraint, serious harm or threats of serious harm, and/or a scheme,

  plan, or pattern intended to cause Logan to believe that, if that she did not perform such labor or

  services, she would suffer serious harm or physical restraint.

         394.     Defendant USA Diving also knowingly benefitted from participating in a

  venture with Defendant William Bohonyi, which it knew or should have known was engaging in

  violations of the TVPA.

         395.     USA Diving knew or recklessly disregarded the fact that William Bohonyi was

  obtaining Logan’s forced labor and sexual services.

         396.     USA Diving housed Logan, paid her travel expenses, and observed her

  performance in competitions.

         397.     Defendant USA Diving knew or should have known the conditions under which

  Bohonyi was “coaching” Logan in exchange for the forced sexual services she was required to

  provide to Coach Bohonyi because Logan reported—verbally and in formal written

  complaints—Defendant Bohonyi’s abuse.

         398.     USA Diving knowingly or recklessly participated in William Bohonyi’s scheme

  to force Logan into forced sexual acts.

         399.     In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1589(a) by providing knowing and substantial assistance to him when it knew or should

  have known that Logan was being subject to forced sexual acts against her will through means of

  actual force and threats of force, and that she was being abused and raped.

         400.     USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, for



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  medals achieved at competitions, and for his recruitment and training of other competitive

  divers, despite knowing that Logan was being repeatedly sexually abused and raped.

         401.     As a direct and proximate result of the actions of the Defendants, Logan has

  suffered personal injuries, including severe emotional distress, physical injuries, and economic

  losses, and these injuries continue.

         402.     Logan claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

                                              COUNT 3

    Trafficking with Respect to Forced Labor in Violation of 18 U.S.C. § 1590(a), § 1595(a)

                      By Logan Kline against William Bohonyi and USA Diving

         403.     Logan realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         404.     Logan is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a).

         405.     In violation of 18 U.S.C. §§ 1590(a) and 1595(a), William Bohonyi knowingly

  recruited, enticed, harbored, transported, and/or obtained Logan for labor or services.

         406.     William Bohonyi knowingly recruited and fraudulently enticed Logan to come

  to Los Angeles, California, and to Christiansburg, Virginia, with the intention of forcing her into

  sexual labor and services for him.

         407.     William Bohonyi knowingly benefitted (financially and otherwise) from his

  recruitment, enticement, harboring, transport, and obtaining of Logan. He received free sexual

  services and labor from Logan.

         408.     In violation of 18 U.S.C. §§ 1590(a) and 1595(a), USA Diving, through its



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  agent, William Bohonyi, knowingly transported Logan to Los Angeles, California, and to

  Christiansburg, Virginia, and to various tournaments and training centers.

         409.     USA Diving also knowingly benefitted from participating in a venture with

  William Bohonyi, which it knew or should have known was engaging in violations of the TVPA.

         410.     In addition, the USA Diving, promoted and directly joined William Bohonyi’s

  violations of 18 U.S.C. § 1590(a) by providing knowing and substantial assistance to him when

  they knew or should have known that Logan had been recruited, transported, or obtained by any

  means for labor or services.

         411.     USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Logan was being repeatedly sexually abused and raped.

         412.     As a direct and proximate result of the actions of the Defendants, Logan has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         413.     Logan claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

                                              COUNT 4

                   Sex Trafficking of Children, or by Force Fraud or Coercion,
                         in Violation of 18 U.S.C. § 1591(a)(1), § 1595(a)

                      By Logan Kline against William Bohonyi and USA Diving

         414.     Logan realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         415.     Logan is authorized to bring this civil claim against Defendants pursuant to the

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  civil remedies provision of 18 U.S.C. § 1595(a).

         416.     In violation of 18 U.S.C. §§ 1591(a)(1) and 1595(a), William Bohonyi

  knowingly and fraudulently recruited, enticed, harbored, transported, and/or obtained Logan, and

  benefitted from her labor and services, knowing that means of force, fraud, coercion, and the

  combination of such means would be used to force Logan to engage in commercial sex acts.

  William Bohonyi’s acts towards Logan were in or affecting interstate and/or foreign commerce,

  including by his including or placing Logan on the team or roster for travel from Indiana to Los

  Angeles, California, and to Christiansburg, Virginia, and to various tournaments and training

  centers. Furthermore, William Bohonyi benefitted through his actions against Logan.

         417.     In violation of 18 U.S.C. § 1591(a)(1) and 1595(a), USA Diving, through its

  agent William Bohonyi, knowingly recruited, enticed, and transported Logan to Los Angeles,

  California, and to Christiansburg, Virginia, and to various tournaments and training centers, in

  interstate and foreign commerce, and benefited from her labor and services, knowing or in

  reckless disregard of the fact that means of force, fraud, coercion, and the combination of such

  means would be used to force Logan to engage in commercial sex acts.

         418.     In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1591(a) by providing knowing and substantial assistance to him when it knew or should

  have known that Logan had been recruited, transported, or obtained by any means for labor or

  services.

         419.     USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Logan was being repeatedly sexually abused and raped.



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         420.     As a direct and proximate result of the actions of the Defendants, Logan has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         421.     Logan claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

                                              COUNT 5

   Benefitting from a Venture that Sex Trafficks Children, or by Force Fraud or Coercion in
                       Violation of 18 U.S.C. § 1591(a)(2) and § 1595(a)

                                 By Logan Kline against USA Diving

         422.     Logan realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         423.     Logan is authorized to bring this civil claim against Defendant pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a).

         424.     In violation of 18 U.S.C. § 1591(a)(2), § 1595(a), USA Diving knowingly

  benefitted from participation in a venture with William Bohonyi engaged in a violation of 18

  U.S.C. § 1591(a)(1), knowing or in reckless disregard of the fact that that means of force, threats

  of force, fraud, and/or coercion would be used to cause Logan to engage in a commercial sex act.

         425.     USA Diving also knowingly benefitted (financially and otherwise) from

  participation in a venture with William Bohonyi which it knew or should have known was

  engaging in acts violating the TVPA.

         426.     In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1591(a) by providing knowing and substantial assistance to him when it knew or should

  have known that Logan had been recruited, transported, or obtained by any means for labor or

  services.

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         427.      USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Logan was being repeatedly sexually abused and raped.

         428.      As a direct and proximate result of the actions of the Defendant, Logan has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         429.      Logan claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

  Counts of ESTEE PRYOR for Violations of Federal Law

                                               COUNT 6
                Forced Labor in Violation of 18 U.S.C. § 1589(a), § 1595(a), § 2255
                               By Estee Pryor Against William Bohonyi
         430.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         431.    Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provisions of 18 U.S.C. § 1595(a) and § 2255.

         432.    In violation of 18 U.S.C. §§ 1589(a) and 1595(a), Defendant William Bohonyi

  knowingly obtained forced sexual services from Estee by means of serious harm or threats of

  serious harm in violation of 18 U.S.C. § 1589(a)(2), and through a scheme, plan, or pattern, he

  intended to cause Estee to believe that, if that she did not perform such labor or services, she

  would suffer serious harm in violation of 18 U.S.C. § 1589(a)(4).




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         433.    As a direct and proximate result of the actions of the Defendants, Estee has

  suffered personal injuries, including severe emotional distress, physical injuries, and economic

  losses, and these injuries continue.

         434.    Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                             COUNT 7
              Forced Labor in Violation of 18 U.S.C. § 1589(b), § 1595(a), § 2255
                                  By Estee Pryor Against USA Diving
         435.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         436.    Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         437.    In violation of 18 U.S.C. §§ 1589 and 1595(a), USA Diving, through its agent,

  Defendant William Bohonyi, knowingly benefitted from participation in a venture with William

  Bohonyi, knowing or in reckless disregard of the fact that the venture was engaged in the

  providing or obtaining of Estee’s labor or services by means of force, threats of force, physical

  restraint, threats of physical restraint, serious harm or threats of serious harm, and/or a scheme,

  plan, or pattern intended to cause Estee to believe that, if that she did not perform such labor or

  services, she would suffer serious harm.

         438.    Defendant USA Diving also knowingly benefitted from participating in a venture

  with Defendant William Bohonyi, which it knew or should have known was engaging in

  violations of the TVPA.

         439.    USA Diving knew or recklessly disregarded the fact that William Bohonyi was

  obtaining Estee’s forced labor and sexual services.


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         440.    USA Diving housed Estee, paid her travel expenses, and observed her

  performance in competitions.

         441.    Defendant USA Diving knew or should have known the conditions under which

  Bohonyi was “coaching” Estee because Estee reported—verbally and in formal written

  complaints—Defendant Bohonyi’s abuse.

         442.    USA Diving knowingly or recklessly participated in William Bohonyi’s scheme

  to force Estee into forced sexual acts.

         443.    In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1589(a) by providing knowing and substantial assistance to him when it knew or should

  have known that Estee was being subject to forced sexual acts against her will through means of

  actual force and threats of force, and that she was being abused and raped.

         444.    USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, for

  medals achieved at competitions, and for his recruitment and training of other competitive

  divers, despite knowing that Estee was being repeatedly sexually abused and raped.

         445.    As a direct and proximate result of the actions of the Defendants, Estee has

  suffered personal injuries, including severe emotional distress, physical injuries, and economic

  losses, and these injuries continue.

         446.    Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.




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                                            COUNT 8
                           Trafficking with Respect to Forced Labor
                      in Violation of 18 U.S.C. § 1590(a), § 1595(a), § 2255

                     By Estee Pryor Against William Bohonyi and USA Diving

         447.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         448.    Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         449.    In violation of 18 U.S.C. §§ 1590(a) and 1595(a), William Bohonyi knowingly

  recruited, enticed, harbored, transported, and/or obtained Estee for labor or services.

         450.    William Bohonyi knowingly recruited and fraudulently enticed Estee to come to

  Bethesda, Maryland, with the intention of forcing her into sexual labor and services for him.

         451.    William Bohonyi knowingly benefitted (financially and otherwise) from his

  recruitment, enticement, harboring, transport, and obtaining of Estee. He received free sexual

  services and labor from Estee.

         452.    In violation of 18 U.S.C. §§ 1590(a) and 1595(a), USA Diving, through its agent,

  William Bohonyi, knowingly transported Estee to Bethesda, Maryland, and to various

  tournaments and training centers.

         453.    USA Diving also knowingly benefitted from participating in a venture with

  William Bohonyi, which it knew or should have known was engaging in violations of the TVPA.

         454.    In addition, the USA Diving, promoted and directly joined William Bohonyi’s

  violations of 18 U.S.C. § 1590(a) by providing knowing and substantial assistance to him when

  they knew or should have known that Estee had been recruited, transported, or obtained by any

  means for labor or services.

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         455.     USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Estee was being repeatedly sexually abused and raped.

         456.     As a direct and proximate result of the actions of the Defendants, Estee has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         457.     Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                             COUNT 9
              Obstruction, Attempted Obstruction, Interference with Enforcement
              in Violation of 18 U.S.C. § 1590(b), § 1591(d), § 1595(a), and § 2255

                     By Estee Pryor Against William Bohonyi and USA Diving
         458.     Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         459.     Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         460.     In violation of 18 U.S.C. §§ 1590(b), 1591(d), and 1595(a), Defendant USA

  Diving obstructed, attempted to obstruct, interfered, and or prevented the enforcement of these

  sections by:

              a. ignoring verbal and written complaints of sexual abuse;

              b. dismissing complaints of sexual abuse;

              c. refusing to act on reports of sexual abuse;

              d. threatening athletes with consequences for the abuse that was occurring to them;


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             e. making false statements about athletes; and

             f. feeding false information to investigators and the media about Estee.

         461.    As a direct and proximate result of the actions of the Defendants, Estee has

  suffered severe emotional distress, physical injuries, and economic losses.

         462.    Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                             COUNT 10
                 Sex Trafficking of Children, or by Force Fraud or Coercion,
                 in Violation of 18 U.S.C. § 1591(a)(1), § 1595(a), and § 2255

                     By Estee Pryor Against William Bohonyi and USA Diving

         463.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         464.    Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         465.    In violation of 18 U.S.C. §§ 1591(a)(1), 1595(a), and 2255, William Bohonyi

  knowingly and fraudulently recruited, enticed, harbored, transported, and/or obtained Estee, and

  benefitted from her labor and services, knowing that Estee had not attained the age of 18 years

  and would be caused to engage in commercial sex acts.50 William Bohonyi’s acts towards Estee

  were in or affecting interstate and/or foreign commerce, including by his including or placing

  Estee on the team or roster for travel from Ohio to Maryland, and to various tournaments and

  training centers. Furthermore, William Bohonyi benefitted through his actions against Estee.




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    Under 18 U.S.C. § 1591(e)(3), the term “commercial sex act” means “any sex act on account
  of which anything of value is given to or received by any person.”
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         466.    In violation of 18 U.S.C. §§ 1591(a)(1) and 1595(a), William Bohonyi knowingly

  and fraudulently recruited, enticed, harbored, transported, and/or obtained Estee, and benefitted

  from her labor and services, knowing that means of force, fraud, coercion, and the combination

  of such means would be used to force Estee to engage in commercial sex acts. William

  Bohonyi’s acts towards Estee were in or affecting interstate and/or foreign commerce, including

  by his including or placing Estee on the team or roster for travel from Ohio to Maryland, and to

  various tournaments and training centers. Furthermore, William Bohonyi benefitted through his

  actions against Estee.

         467.    In violation of 18 U.S.C. § 1591(a)(1), 1595(a), and § 2255, USA Diving, through

  its agent William Bohonyi, knowingly recruited, enticed, and transported Estee to Maryland and

  to various tournaments and training centers, in interstate and foreign commerce, and benefited

  from her labor and services, knowing or in reckless disregard of the fact that she had not attained

  the age of 18 and that means of force, fraud, coercion, and the combination of such means would

  be used to force Estee to engage in commercial sex acts.

         468.    In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1591(a) by providing knowing and substantial assistance to him when it knew or should

  have known that Estee had been recruited, transported, or obtained by any means for labor or

  services.

         469.    USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Estee was being repeatedly sexually abused and raped.




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         470.    As a direct and proximate result of the actions of the Defendants, Estee has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         471.    Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                             COUNT 11
  Benefitting from a Venture that Sex Trafficks Children, or by Force Fraud or Coercion
                 in Violation of 18 U.S.C. § 1591(a)(2), § 1595(a), and § 2255
                                By Estee Pryor Against USA Diving
         472.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         473.    Estee is authorized to bring this civil claim against Defendant pursuant to the civil

  remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         474.    In violation of 18 U.S.C. § 1591(a)(2), § 1595(a), and § 2255, USA Diving

  knowingly benefitted from participation in a venture with William Bohonyi engaged in a

  violation of 18 U.S.C. § 1591(a)(1), knowing or in reckless disregard of the fact that Estee had

  not attained the age of 18 and would be caused to engage in a commercial sex act, and/or

  knowing or in reckless disregard of the fact that means of force, threats of force, fraud, and/or

  coercion would be used to cause Estee to engage in a commercial sex act.

         475.    USA Diving also knowingly benefitted (financially and otherwise) from

  participation in a venture with William Bohonyi which it knew or should have known was

  engaging in acts violating the TVPA.

         476.    In addition, USA Diving aided and abetted William Bohonyi’s violations of 18

  U.S.C. § 1591(a) by providing knowing and substantial assistance to him when it knew or should


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  have known that Estee had been recruited, transported, or obtained by any means for labor or

  services.

         477.    USA Diving benefitted (financially and otherwise) from William Bohonyi’s

  actions including by collecting money through sponsorships, licensing, grants, publicity, and for

  medals achieved at competitions, and for his recruitment and training of other elite diving

  athletes, despite knowing that Estee was being repeatedly sexually abused and raped.

         478.    As a direct and proximate result of the actions of the Defendant, Estee has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         479.    Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                             COUNT 12
  Sexual Exploitation, Transportation, and Illegal Sexual Activity in Violation of 18 U.S.C.
             §§ 2241(c), 2243, 2421, 2422, 2423(a), 2423(b), 2423(c), and 2255
                              By Estee Pryor Against William Bohonyi
         480.    Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         481.    Estee is authorized to bring this civil claim against Defendants pursuant to the

  civil remedies provision of 18 U.S.C. § 2255, which covers within its scope numerous of the

  other statutory sections Defendants violated.

         482.    In violation of 18 U.S.C. §§ 2241(c), Defendant did or attempted to cross state

  lines with the intent to engage in a sex act or attempted to engage in a sexual act with a child age

  12-16 by use of force.




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         483.    In violation of 18 U.S.C. § 2243, Defendant William Bohonyi knowingly engaged

  in a sexual act with Estee, age 16, at a competition.

         484.    In violation of 18 U.S.C. § 2421, Defendant William Bohonyi knowingly

  transported or attempted to transport Estee in interstate and/or foreign commerce with the intent

  that she engage in sexual activity for which he could be charged with a criminal offense under,

  e.g., 18 U.S.C. §§ 1589, 1590, 1591, 2241(c), 2242, 2243, 2422, 2423(a), 2423(b), 2423(c), or

  other applicable law.

         485.    In violation of 18 U.S.C. §2422, Defendant knowingly persuaded, induced,

  enticed, or coerced Estee to travel in interstate and/or foreign commerce with the intent that she

  engage in a sex act for which a person could be charged with a criminal offense sexual activity

  for which he could be charged with a criminal offense under, e.g., 18 U.S.C. §§ 1589, 1590,

  1591, 2241(c), 2243, 2421, 2422, 2423(a), 2423(b), 2423(c), or other applicable law.

         486.    In violation of 18 U.S.C. §2423(a), Defendant knowingly transported Estee,

  and/or attempted to or conspired to transport Estee, who had not yet attained the age of 18 years,

  in interstate and/or foreign commerce with the intent that she engage in a sex act for which a

  person could be charged with a criminal offense under, e.g., 18 U.S.C. §§ 1589, 1590, 1591,

  2241(c), 2242, 2243, 2421, 2422, 2423(b), 2423(c), or other applicable law.

         487.    In violation of 18 U.S.C. § 2423(b), Defendant traveled in interstate commerce for

  the purpose of engaging in illicit sexual conduct with Estee, a person under 18 years of age.

         488.    In violation of 18 U.S.C. § 2423(c), Defendant traveled in foreign commerce and

  engaged in illicit sexual conduct with Estee, a person under 18 years of age.




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         489.       As a direct and proximate result of the actions of the Defendant, Estee has

  suffered severe emotional distress, physical injuries, and economic losses, and these damages are

  continuing.

         490.       Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

                                                COUNT 13

                Sexual Exploitation of Children in Violation of § 2251, § 2252, § 2255

                                 By Estee Pryor Against William Bohonyi

         491.       Estee realleges and incorporates by reference each and every allegation contained

  in the preceding paragraphs as if fully set forth herein.

         492.       Estee is authorized to bring this civil claim against Defendant pursuant to the civil

  remedies provision of 18 U.S.C. § 2255.

         493.       In violation of 18 U.S.C. §§ 2251, Defendant William Bohonyi persuaded,

  induced, and coerced Estee, a minor, to engage in sexually explicit conduct for the purpose of

  producing a visual depiction of such conduct, knowing or having reason to know that such

  depiction would be transmitted through facility of interstate or foreign commerce, specifically

  through computer or smartphone.

         494.       In violation of 18 U.S.C. § 2252, Defendant William Bohonyi knowingly received

  or transported in commerce via computer or smartphone a visual depiction involving Estee, a

  minor, engaged in sexually explicit conduct, which he knowingly possessed and/or accessed with

  intent to view.




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         495.     As a direct and proximate result of the actions of the Defendant, Estee has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         496.     Estee claims damages in an amount to be proven at trial, including attorneys’ fees,

  injunctive relief, and other relief that the Court may deem proper.

  Counts of MARISSA JOHNSON for Violations of Federal Law

                                             COUNT 14
                Forced Labor in Violation of 18 U.S.C. § 1589(a), § 1595(a), § 2255
                            By Marissa Johnson Against William Bohonyi

         497.     Marissa realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         498.     Marissa is authorized to bring this civil claim against Defendant pursuant to the

  civil remedies provision of 18 U.S.C. § 1595(a) and § 2255.

         499.     In violation of 18 U.S.C. §§ 1589(a) and 1595(a), Defendant William Bohonyi

  knowingly obtained forced sexual services from Marissa by means of serious harm or threats of

  serious harm in violation of 18 U.S.C. § 1589(a)(2); and a scheme, plan, or pattern intended to

  cause Marissa to believe that, if that she did not perform such labor or services, she would suffer

  serious harm or physical restraint in violation of 18 U.S.C. § 1589(a)(4).

         500.     As a direct and proximate result of the actions of the Defendant, Marissa has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         501.     Marissa claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.



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                                                COUNT 15

                Sexual Exploitation of Children in Violation of § 2251, § 2252, § 2255

                                     By Marissa Johnson Against William Bohonyi

         502.       Marissa realleges and incorporates by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         503.       Marissa is authorized to bring this civil claim against Defendant pursuant to the

  civil remedies provision of 18 U.S.C. § 2255.

         504.       In violation of 18 U.S.C. §§ 2251, Defendant William Bohonyi persuaded,

  induced, and coerced Marissa, a minor, to engage in sexually explicit conduct for the purpose of

  producing a visual depiction of such conduct, knowing or having reason to know that such

  depiction would be transmitted through facility of interstate or foreign commerce, specifically

  through computer or smartphone.

         505.       In violation of 18 U.S.C. § 2252, Defendant William Bohonyi knowingly received

  or transported in commerce via computer or smartphone a visual depiction involving Marissa, a

  minor, engaged in sexually explicit conduct, which he knowingly possessed and/or accessed with

  intent to view.

         506.       As a direct and proximate result of the actions of the Defendant, Marissa has

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

         507.       Marissa claims damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.




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  Counts of All Plaintiffs for Violation of State Common Law

                                               COUNT 16

                                         Negligent Supervision

                         All Plaintiffs Against USA Diving and Ohio State Diving Club

            508.   Plaintiffs reallege and incorporate by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

            509.   Defendants each had a duty to protect Plaintiffs from the sexual abuse,

  harassment, and exploitation of William Bohonyi. Not only was one Plaintiff a minor during

  much of the time period above, but Plaintiff was subject to “Commercial Terms” and other

  contractual provisions with USA Diving.

            510.   This duty has already been admitted: the USOC and USA Diving have repeatedly

  stated publicly and on their own websites that they are “responsible” for the protection of Team

  USA’s athletes, and the USOC has apologized for “failing” Team USA’s athletes by failing to

  protect them from sexual predators.

            511.   At least as early as 2014, and certainly by 2015, Defendants had notice of

  Defendant William Bohonyi’s sexual abuse of Plaintiffs Estee Pryor and Logan Kline, among

  others.

            512.   Defendants knew or should have known that William Bohonyi’s conduct, agency,

  and/or employment would subject third parties to an unreasonable risk of harm.

            513.   Defendants improperly supervised William Bohonyi by failing to monitor his

  actions and by acting to obstruct or interfere with investigations of William Bohonyi’s sexual

  assaults of USA Diving athletes.




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         514.    As a direct and proximate result of the actions of the Defendants’ actions,

  Plaintiffs suffered severe emotional distress, physical injuries, and economic losses, and these

  injuries continue.

         515.    Plaintiffs claim damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.

                                                  COUNT 17

                                              Negligent Retention

                       All Plaintiffs Against USA Diving and Ohio State Diving Club

         516.    Plaintiffs reallege and incorporate by reference each and every allegation

  contained in the preceding paragraphs as if fully set forth herein.

         517.    Defendants had a duty to protect Plaintiffs from the sexual abuse, harassment, and

  exploitation of William Bohonyi. Not only was one Plaintiff a minor during much of the time

  period above, but Plaintiffs were subject to “Commercial Terms” and other contractual

  provisions with USA Diving and/or the USOC.

         518.    This duty has already been admitted: the USOC and USA Diving have repeatedly

  stated publicly and on their own websites that they are “responsible” for the protection of Team

  USA’s athletes, and the USOC has apologized for “failing” Team USA’s athletes by failing to

  protect them from sexual predators.

         519.    By 2014, Defendants had notice of Defendant William Bohonyi’s sexual abuse of

  at least Plaintiff Estee Pryor and Logan Kline, among others.

         520.    Defendants knew or should have known that William Bohonyi’s conduct, agency,

  and/or employment would subject third parties to an unreasonable risk of harm.




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          521.    Defendants knew or should have known that William Bohonyi was dangerous and

  was unfit to be an employee or agent of USA Diving.

          522.    Defendants retained William Bohonyi despite its knowledge of the risks that he

  posed to Plaintiffs and third parties.

          523.    By funding and promoting the travel, training, and competitive events at which

  William Bohonyi acted as USA Diving’s agent, Defendants continued to create unreasonable

  risks to Plaintiffs and others.

          524.    Defendants allowed the sexual assaults committed by William Bohonyi to

  continue because as one of its coaches delivering “medals and money” to Team USA’s balance

  sheet, he brought financial success to the USOC by generating more sponsorships, revenues,

  licensing deals, and publicity.

          525.    USA Diving made a financial calculation to place its lust for “medals and money”

  over the safety and sanctity of its divers, including Estee and Logan.

          526.    As a direct and proximate result of the actions of the Defendant, Plaintiffs

  suffered severe emotional distress, physical injuries, and economic losses, and these injuries

  continue.

          527.    Plaintiffs claim damages in an amount to be proven at trial, including attorneys’

  fees, injunctive relief, and other relief that the Court may deem proper.


                                    DEMAND FOR JURY TRIAL

           Plaintiffs are entitled to and hereby demand a jury trial in this matter.




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                                        PRAYER FOR RELIEF

             Wherefore, Plaintiffs respectfully request that this Court will:

             a.     Enter judgment against Defendants, jointly and severally, in such amounts as

   will fully and adequately compensate Plaintiffs for the damages they have suffered, in an

   amount to be determined at trial;

             b.     Award Plaintiffs punitive damages against Defendants, jointly and severally, in

   an amount to be determined by the jury for Defendants’ violations of federal law;

             c.     Award Plaintiffs pre-judgment and post-judgment interest;

             d.     Award Plaintiffs their actual expenses of litigation, including

   reasonable attorney’s fees;

             e.     Award Plaintiffs injunctive relief that requires the USA Diving to put in

   place (and fund) supervision and compliance protocols that actually prevent, uncover,

   and stop the sexual abuse, exploitation, and trafficking of USA Diving athletes;

             f.     Appoint Plaintiffs as class representatives;

             g.     Appoint Plaintiffs’ counsel as counsel for the class;

             h.     Award Plaintiffs such other and further relief as the Court deems just and

   proper.




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                                     Respectfully submitted:



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                                 CERTIFICATE OF SERVICE

         I certify that the foregoing document was filed via the Court’s ECF system on this 3rd day

  of August, 2018. Service will be made electronically on all ECF-registered counsel of record via

  email generated by the Court’s ECF system. In addition, this amended pleading will be served on

  those defendants who have not appeared in the case in accord with Fed. R. Civ. P. 4.

                                              /s/ Jonathan Little_____
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                                              Counsel for Plaintiffs




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